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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARLYAND

 H&R BLOCK EASTERN ENTERPRISES, INC.                  )
                                                      )
        Plaintiff,                                    )
                                                      )
                 v.                                   ) Civil Action No. MJG-07-1822
                                                      )
 CHARLES W. TURNBAUGH, in his official                )
 capacity as Commissioner of the Division of          )
 Financial Regulation of the Maryland                 )
 Department of Labor, Licensing and Regulation        )
                                                      )
        Defendant.                                    )


              STIPULATION OF DISMISSAL OF COUNT I OF COMPLAINT

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiff H&R

Block Eastern Enterprises, Inc. (“Block”) and defendant Commissioner Charles W. Turnbaugh

(the “Commissioner”) submit this stipulation of dismissal as to Count I of the Complaint for

Declaratory Judgment and Permanent Injunction (the “Complaint”).

       1.       The parties request that the Court dismiss Count I without prejudice and with each

party to bear its own costs, and thereafter enter Final Judgment in this action pursuant to Federal

Rules of Civil Procedure 54(a) and 58(d), in the form of the proposed Final Judgment filed

contemporaneously with this Stipulation.

       2.       The parties further stipulate that Block reserves all its rights to bring an action

seeking relief similar to that sought in Count I in Maryland state court with respect to the

applicability of the Maryland Credit Services Business Act, Md. Code Ann., Com. Law, §§ 14-

1901 et seq. to the business conducted by Block or any of its affiliates and franchisees in the

State of Maryland, and each of the parties reserves all its respective rights to assert any other




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claims or defenses of any kind relating to the issues raised in any such action or any other action

or proceeding under such statute that might be brought by the Commissioner.

       3.       The parties further stipulate that any applicable statute of limitations, laches

defense, or other limitations period shall be tolled as to any claims or defenses of any kind

relating to the potential actions described in Paragraph 2 above from the date of execution of this

stipulation until 60 days after the final resolution of any appeals that may be taken in connection

with the Final Judgment to be entered in this action.

Dated: August 28, 2008                                      Respectfully submitted,


By:    /s/ Jonathan R. Krasnoff (with permission)           By:       /s Matthew M. Neumeier
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                                                            - and -

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                                                            Eastern Enterprises, Inc.



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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing was served upon all counsel of

record via the Court’s CM/ECF system this 28th day of August, 2008.



                                           /s/ Matthew M. Neumeier
                                           Matthew M. Neumeier
